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                          Barnes/Canfield Group Organization
                        liaison Counsel                                     Co- Lead Counsel
                           R. Barnes*                                          K. Canfield
                                                                                A. Keller
                                                                                N. Siegel
                                                                                                                         Settlement Committee
                                                                                                                I
                       State Coordinating
                                                                                   I
                                                                                   PSC
                                                                                                                              N. Siegel"
                                                                                                                               R. Barnes
                            Counsel                                          A. Friedman                                      K. Canfield
                            R. Strong                                           E. Gibbs                                       A. Keller
                                                                             J. Pizzi russo                                     All PSC
                                                                               A. Tadler
                                                                             J. Yanchunis



                                                                                   I
                                                    Litigation Subcommittee Structure
                                                                      and Committee Chairs"


                                               Class               Plaintiffs'            Defendants'                                            Injunctive
Administration           Briefing                                                                                                   Experts
                                            Certification          Discovery               Discovery                                               Relief


  R. Barnes"           K. Canfield"           E. Gibbs"          J. Pizzi russo"           A. Tadler"       A. Keller"          J. Yanchunis"   A. Friedman"
  K. Canfield            R. Barnes           K. Canfield          A. Friedman             A. Friedman       R. Barnes             R. Barnes        E. Gibbs
   N. Siegel           J. Pizzirusso        J. Pizzirusso           E. Gibbs                 E. Gibbs       A. Tadler            A. Friedman       A. Keller
   R. Strong             N. Siegel            A. Tadler            A. Tadler              J. Pizzirusso   J. Yanchunis             A. Keller    J. Yanchunis
                                                                                          J. Yanchunis




• Mr. Barnes will have the powers and responsibilities of Co-lead Counsel
